
577 So.2d 1312 (1991)
In re Inquiry Concerning a Judge No. 89-62, re: TRETTIS, Thomas T.
No. 77431.
Supreme Court of Florida.
April 11, 1991.
J. Klein Wigginton, Chairman and Roy T. Rhodes, Gen. Counsel, Tallahassee, and Marvin E. Barkin, Richard W. Candelora and Craig P. Clendinen of Trenam, Simmons, Kemker, Scharf, Barkin, Frye &amp; O'Neill, P.A., Tampa, Sp. Counsel to The Florida Judicial Qualifications Comm'n, for petitioner.
Richard T. Earle, Jr. of Earle &amp; Earle, St. Petersburg, for respondent.
PER CURIAM.
In this disciplinary proceeding the Judicial Qualifications Commission and Judge Thomas T. Trettis present the following stipulation, findings, and recommendations to this Court for review. Art. V, § 12, Fla. Const.
1. Judge Trettis does not contest the matters set forth in the Notice of Formal Proceeding (the "Notice") instituting this inquiry.
2. Judge Trettis specifically consents to a finding of probable cause by the *1313 Commission as to such matters under the Notice of Investigation served December 13, 1989 and under the Second Supplemental Notice of Investigation served August 31, 1990.
3. Judge Trettis does not contest the findings and recommendation of the Commission set forth below.
4. Judge Trettis regrets and apologizes for his conduct.
5. This Stipulation constitutes the only response to this cause by Judge Trettis.
6. The Commission and Judge Trettis waive oral argument.
FINDINGS AND RECOMMENDATIONS
After full and deliberate consideration of the charges set forth in the Notice of Formal Proceeding, the Commission by a vote of at least nine members, makes the following findings with respect to the Respondent, Thomas T. Trettis:
1. You have conducted yourself in a manner designed to lessen public confidence in the dignity, integrity and impartiality of the judiciary, in violation of Canon 2A of the Code of Judicial Conduct.
2. You have exhibited rude and overbearing behavior in open court, including numerous improper tirades and outbursts directed toward jurors, defendants and attorneys, and you have engaged in verbal abuse and intimidation of courthouse personnel and fellow judges on numerous occasions in violation of Canon 3A(2) and (3) of the Code of Judicial Conduct.
3. You have engaged in improper ex parte communications concerning pending or impending proceedings, in violation of Canon 3A(4) of the Code of Judicial Conduct.
4. You have made inappropriate comments on pending proceeding which were not required in the performance of your legal duties, in violation of Canon 3A(6) of the Code of Judicial Conduct.
5. You have failed to disqualify yourself in proceedings in which your impartiality might reasonably be questioned, in violation of Canon 3C(1)(a) of the Code of Judicial Conduct.
6. You have allowed personal relationships to influence your judicial conduct in connection with the estate of Peter Mauger and the case of Philip Joseph Procacci and have lent the prestige of your office to attempt to create an employment position in the judicial system for others, in violation of Canon 2B of the Code of Judicial Conduct.
7. During the course of the investigation, you voluntarily submitted to a complete physical and psychological examination at the Watson Clinic in Lakeland. That examination revealed certain significant stressors in your environment, and resulted in recommendations for a remedial course of action that you should pursue.
8. You cooperated fully in connection with the examinations; you have adhered to the recommended course of action; and there has been a noticeable improvement in your behavior.
9. You have agreed that you will continue to obtain such additional treatment and care as the Watson Clinic or other doctors prescribe, and that you will diligently pursue any course of treatment that the Watson Clinic or other doctors recommend.
The Commission recommends that Judge Thomas T. Trettis be publicly reprimanded for his conduct specified therein.
This Court is greatly troubled by the conduct of Judge Trettis. For the court system to properly fulfill its role in today's society, it is absolutely essential to maintain public confidence in the dignity, integrity, and impartiality of the judiciary. When a judge continuously acts in a manner to undermine this confidence, drastic remedial action, including removal from the bench, is required. While the conduct of Judge Trettis is not as severe or as chronic *1314 as that which existed in In Re Crowell, 379 So.2d 107 (Fla. 1979), wherein we removed Judge Crowell from the bench, his course of conduct, prior to its being modified, was headed in that direction.
Because of the provisions of paragraphs 7, 8, and 9 of the stipulation, we approve the recommendation. Should the conduct of Judge Trettis relapse and continue in the manner related in the original complaint, we request the Judicial Qualifications Commission to file a supplemental proceeding for further review. As a condition of the reprimand, Judge Trettis is directed to comply with his agreement as set forth in paragraph 9 of the stipulation.
We therefore approve the recommendation of the Judicial Qualifications Commission and, for the matters described in the stipulation, publicly reprimand Judge Thomas T. Trettis.
It is so ordered.
SHAW, C.J., and OVERTON, McDONALD, BARKETT, GRIMES, KOGAN and HARDING, JJ., concur.
